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                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

 In re:                                                            Case No. 19-41798-MXM
            IREKA CUSHITE HAMILTON

                        Debtor(s)



                CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Tim Truman, chapter 13 trustee, submits the following Final Report and Account of the
 administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:



            1) The case was filed on 05/03/2019.

            2) The plan was confirmed on 10/24/2019.

            3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
     NA .

            4) The trustee filed action to remedy default by the debtor in performance under the plan on NA
 .

            5) The case was dismissed on 01/28/2020.

            6) Number of months from filing to last payment: 6.

            7) Number of months case was pending: 10.

            8) Total value of assets abandoned by court order: NA .

            9) Total value of assets exempted: $125,556.00.

            10) Amount of unsecured claims discharged without payment: $0.00.

            11) All checks distributed by the trustee relating to this case have cleared the bank .




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  Receipts:

             Total paid by or on behalf of the debtor               $13,700.00
             Less amount refunded to debtor           $0.00

  NET RECEIPTS:                                                                                     $13,700.00



  Expenses of Administration:

       Attorney’s Fees Paid Through the Plan                                  $2,690.00
       Court Costs                                                                $0.00
       Trustee Expenses & Compensation                                          $877.20
       Other                                                                     $96.00
  TOTAL EXPENSES OF ADMINISTRATION:                                                                      $3,663.20

  Attorney fees paid and disclosed by debtor:                      $810.00



  Scheduled Creditors:
  Creditor                                           Claim        Claim          Claim       Principal        Int.
  Name                                  Class      Scheduled     Asserted       Allowed        Paid           Paid
  ACE CASH EXPRESS                   Unsecured          300.00          NA             NA           0.00         0.00
  ALBERTELLI LAW                     Unsecured            0.00          NA             NA           0.00         0.00
  ALLY BANK                          Secured         22,201.00    22,726.03      22,726.03        805.35         0.00
  AMERICAN EXPRESS NATIONAL BA       Unsecured             NA      5,959.10       5,959.10          0.00         0.00
  AT AND T CORP                      Unsecured          146.00       613.44         613.44          0.00         0.00
  BMW FINANCIAL SERVICES             Unsecured            0.00    20,424.36      20,424.36          0.00         0.00
  CHASE                              Unsecured          730.00          NA             NA           0.00         0.00
  CHASE                              Unsecured        3,215.00          NA             NA           0.00         0.00
  CITY OF GRAND PRAIRIE              Unsecured          315.00          NA             NA           0.00         0.00
  CITY OF IRVING                     Unsecured          250.00          NA             NA           0.00         0.00
  CONNS CREDIT COMPANY               Unsecured        5,132.00          NA             NA           0.00         0.00
  CONVERGENT OUTSOURCING             Unsecured            0.00          NA             NA           0.00         0.00
  CREDIT MANAGEMENT                  Unsecured        1,161.00          NA             NA           0.00         0.00
  DIVERSIFIED CONSULTANT             Unsecured          514.00          NA             NA           0.00         0.00
  EECU                               Unsecured          776.00          NA             NA           0.00         0.00
  FDOT                               Unsecured          107.00          NA             NA           0.00         0.00
  INTERNAL REVENUE SERVICE           Unsecured        2,695.74     6,055.04       6,055.04          0.00         0.00
  INTERNAL REVENUE SERVICE           Unsecured             NA      3,909.21       3,909.21          0.00         0.00
  MACYS / DSNB                       Unsecured        1,574.00          NA             NA           0.00         0.00
  MEDICAL CENTER OF ARLINGTON        Unsecured             NA        313.28         313.28          0.00         0.00
  MTA BRIDGES AND TUNNERS            Unsecured           54.25          NA             NA           0.00         0.00
  NEIGHBORHOOD CREDIT UNION          Unsecured           10.00          NA             NA           0.00         0.00
  NEIGHBORHOOD CREDIT UNION          Unsecured          841.00          NA             NA           0.00         0.00
  NORTH SHORE AGENCY INC             Unsecured        3,191.00          NA             NA           0.00         0.00
  NTTA                               Unsecured          488.00          NA             NA           0.00         0.00
  PRIMARY PLACEMENTS                 Unsecured            0.00          NA             NA           0.00         0.00
  SPEEDY CASH/RAPID CASH             Unsecured          634.00       636.67         636.67          0.00         0.00
  SPRINT                             Unsecured             NA      3,652.55       3,652.55          0.00         0.00
  TARRANT COUNTY TAX COLLECT         Secured               NA      5,404.32       5,404.32          0.00         0.00
  TDLR/ARLINGTON MUNICIPAL COU       Unsecured          199.00          NA             NA           0.00         0.00



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  Scheduled Creditors:
  Creditor                                        Claim          Claim         Claim        Principal        Int.
  Name                                Class     Scheduled       Asserted      Allowed         Paid           Paid
  TRANSWORLD SYSTEMS               Unsecured           0.00             NA            NA            0.00        0.00
  TRS RECOVERY SERVICES            Unsecured          82.00             NA            NA            0.00        0.00
  US BANK NATIONAL ASSOCIATION     Secured       102,032.00      125,905.74          0.00       6,894.60        0.00
  US BANK NATIONAL ASSOCIATION     Secured              NA         2,757.84      2,757.84       2,336.85        0.00
  US BANK NATIONAL ASSOCIATION     Secured              NA        29,299.90     29,299.90           0.00        0.00
  US BANK NATIONAL ASSOCIATION     Secured              NA           550.00        550.00           0.00        0.00
  US BANK NATIONAL ASSOCIATION     Secured              NA           150.00        150.00           0.00        0.00
  US DEPT OF EDUCATION             Unsecured      12,005.00       14,832.97     14,832.97           0.00        0.00


  Summary of Disbursements to Creditors:
                                                                  Claim            Principal                Interest
                                                                Allowed                Paid                    Paid
  Secured Payments:
         Mortgage Ongoing                                          $0.00          $6,894.60                   $0.00
         Mortgage Arrearage                                   $32,757.74          $2,336.85                   $0.00
         Debt Secured by Vehicle                              $22,726.03            $805.35                   $0.00
         All Other Secured                                     $5,404.32              $0.00                   $0.00
  TOTAL SECURED:                                              $60,888.09         $10,036.80                   $0.00

  Priority Unsecured Payments:
          Domestic Support Arrearage                               $0.00                $0.00                 $0.00
          Domestic Support Ongoing                                 $0.00                $0.00                 $0.00
          All Other Priority                                       $0.00                $0.00                 $0.00
  TOTAL PRIORITY:                                                  $0.00                $0.00                 $0.00

  GENERAL UNSECURED PAYMENTS:                                 $56,396.62                $0.00                 $0.00




  Disbursements:

             Expenses of Administration                             $3,663.20
             Disbursements to Creditors                            $10,036.80

  TOTAL DISBURSEMENTS :                                                                             $13,700.00




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         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate
 has been fully administered, the foregoing summary is true and complete, and all administrative matters for
 which the trustee is responsible have been completed. The trustee requests a final decree be entered that
 discharges the trustee and grants such other relief as may be just and proper .

 Dated: 03/12/2020
                                              By: /s/ Tim Truman
                                                  Tim Truman, Standing Chapter 13 Trustee


 STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork
 Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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